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                                                                                            January 26, 2021

By ECF

Honorable Paul G. Gardephe
United States District Judge
Southern District of New York
40 Foley Square
New York, New York 10007

             Re:          United States v. Brandon Green, S5 16 Cr. 281 (PGG)

Dear Judge Gardephe:

We submit this letter pursuant to the Court’s request to confirm that we transmitted the Court’s
November 19, 2020 Order (Docket No. 907), and the related attorney-client privilege waiver to
Mr. Green at the MDC Brooklyn. This letter is on behalf of ourselves and AUSA Jessica
Feinstein, who has reviewed the text.

On January 5, 2021, we sent Mr. Green the Order, the waiver form and a self-addressed stamped
envelope with a letter informing him that we would file the signed waiver on the docket for him
if he returned it to us. That package was delivered to the MDC on January 11, 2021; proof of
delivery is attached. We understand that the Government sent a similar package to Mr. Green on
January 5, 2021 as well.
                                                     Respectfully submitted,




                                                                                           Steven M. Witzel

cc:          AUSA Jessica Feinstein (by ECF)
             Brandon Green (by U.S. Mail, First Class)

Encl.



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